                  Case 2:23-cv-00489-WJM-JRA Document 9 Filed 02/17/23 Page 1 of 2 PageID: 51
                                                                                                                       UNITED STATES DISTRICT
                                                                                                                       COURT
                                                       1111111111111111111111111111111111111111                        DISTRICT OF NEW JERSEY
                                                            6     2     1   9    2     7
  Plaintiff
  RENEX NY CORP.
                                         vs                                                                            DOCKET NO. 2:23-CV-00489
  Defendant
  SUPPLY DEPOT LLC, ET AL
                                                                                                                       AFFIDAVIT OF SERVICE
                                                                                                                       (for use by Private Service)
  Person to be served: MATEUS ZIMA
                                                                                                                          Cost of Service pursuant to R4:4-30
  Address:                                                                                                                $ _ _ _ __
  668 NORTH BROAD STREET
  APARTMENT A24
  ELIZABETH NJ 07204
  Attorney:
          LERNER, DAVID, LITTENBERG,
          20 COMMERCE DRIVE
          CRANFORD NJ 07016
  Papers Served:
SUMMONS & COMPLAINT; CIVIL COVER SHEET; RULE 7.1 DISCLOSURE STATEMENT OF RENEX NY CORP.; NOTCE OF ELECTRONIC FILING; REPORT ON THE FILING
OR DETERMINATION OF AN ACTION REGARDING A PATENTOR TRADEMARK




  Service Data:             /
                                                                                                      7:CJ6f"~
 Se7essfully___                        NotServed   _ __         Date:   ;J- Q,       - ;{3    Time:                    Attempts:

 _ _ Delivered a copy to hirn/her personally                                    Name of Person Served and relationship/title

          Left a copy with a competent household
          member over 14 years of age residing therein at place of abode.

          Left a copy with a person authorized to accept
          service, e.g. managing agent, registered agent, etc.


 Description of Person Accepting Service:

 Age:   '-/{?              I    ;/
                Height: 5~ j[) Weight:
                                                 r")
                                                 oJ30        Hair:~~                                              Race:    b-J ~ , I fe__
  Non-Served:
              ) Defendant is unknown at the address furnished by the attorney
              ) All reasonable inquiries suggest defendant moved to an undetermined address
              ) No such street in municipality
              ) No response on: - - - - - - Date _ _ _ _ __                     Time
                                            Date _ _ _ _ __                     Time
                                                     Date _ _ _ _ __            Time
                                                                        Comments or Remarks,_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          ( ) Other,_:- - - - - - - - - - - - -


                                                                                I, WILLIE PRYOR                                     , was at
                                                                                time of service a competent adult not having a direct
                                                                                interest in the Iitigation. I declare under penalty
                                                                                of perjury that the foregoing is true and correct.




                  Notary Slgnature




              PATRICIA KNAPP
    ., NotaryCOmmlsslon#2447530
               Publlc, Stlie o1 New Jersey
                                                      DGR LEGAL, INC.                                                     Work Order No.              621927
    1My Commlsslon Explres 0612512024                 1359 Littleton Road, Morris Plains, NJ 07950-3000
                                                      (973) 403-1700 Fax (973) 403-9222                                   File No.      JLEGAL-4
Case 2:23-cv-00489-WJM-JRA Document 9 Filed 02/17/23 Page 2 of 2 PageID: 52
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                       UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


    RENEX NY CORP.,
    Plaintiff

                                V.                    SUMMONS IN A CIVIL CASE
    SUPPLY DEPOT LLC, ET AL,
    Defendant
                                                      CASE
                                                      NUMBER: 2:23-CV-60489-WJM-JRA


       TO:   (Name and address ofDefendant):


                      Mateus Zirna
                      668 North Broad Street, Apt. A24
                      Elizabeth, NJ 07204




       A lawsuit has been filed against you.

        Within 21 days after service ofthis sununons on you (not counting the day you received it)
    - or 60 days ifyou are the United States or a United States Agency, or an office or ernployee of
    the United States described in Fed. R. civ. P. 12 (a)(2) or (3)- you rnust serve on the plaintiff
    an answer to the attached complaint or a motion under rule 12 ofthe Federal Rules of Civil
    Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey, whose
    name and address are:
                         Russell W. Faegenburg, Esq.
                         Lerner, David, Littenberg, Krumholz & Mentlik, LLP
                         20 Commerce Drive
                         Cranford, NJ 07016
                          Tel. (908) 654-5000

       Ifyou fail to respond, judgrnent by default will be entered against you for the relief
    demanded in the cornplaint. You also rnust file your answer or motion with the corn1.




    sl WILLIAM T. WALSH
    CLERK




                                                                  ISSUED ON 2023-ol-31 09:55:26, Clerk
                                                                             USDCNJD
